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United States District Court —
for the Western District of Michigan

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

REPORT FOLLOWING
VOLUNTARY FACILITATIVE MEDIATION SESSION
Case Number Case Caption Date of Session
/ "16 -ev-w sdb L4emphery vy f4SU reo
PARTIES Attendees
Name On Behalf Of
Kodd Mum ph peg Lb ra dl
IS dks Lin.wrir le nde
COUNSEL
Name On Behalf Of
/pnclrves LAM ben hev4 [Har bff
TS ceva Pentex [Lasnbf
L Z chef anevg A | Ala OL pcb be r
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Result: [ W Settled in full - Final paperwork will be filed by:
[-] Mediation continuing - Date of Next Session
[] Not settled - Mediation Completed

ee x

Dated: ¢.4-14 /s/ PAtas mm hb. Ack

Mediator

Rev'd 8/2005

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